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    9                                 UNITED STATES DISTRICT COURT
   10              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   11 ERIC WHITE,                                                   No. 2:13-CV-03401-JFW-SSx
   12                    Plaintiff,                                 NOTICE OF MOTION AND
                                                                    MOTION BY PLAINTIFF TO
   13                    v.                                         COMPEL DISCLOSURE FROM
                                                                    DEFENDANTS [Filed concurrently
   14 LEROY BACA et al.,                                            with JOINT STIPULATION
                                                                    PERTAINING TO DISCOVERY
   15                    Defendants.                                DISPUTE; Declaration of Counsel for
                                                                    Plaintiff; Declaration of Counsel for
   16                                                               Defendants]
   17                                                               DATE:          July 18, 2017
                                                                    TIME:          10:00 a.m.
   18                                                               Courtroom:     590
   19
   20
        TO :    THE CLERK OF THE COURT AND TO THE DEFENDANTS AND THEIR ATTORNEYS
   21
                OF RECORD:
   22
                PLEASE TAKE NOTICE that on July 18, 2017, at 10:00 a.m., at 255 E.
   23
        Temple Street, Courtroom 590, the Hon. Suzanne H. Segal, United States Magistrate
   24
        Judge, presiding, or as soon he may be heard, the Plaintiff will request an order To
   25
        Compel Defendants’ Responses to Joint Stipulation Pertaining to Discovery
   26
        Dispute.
   27
                As a result of informal discovery conferences on May 26, 2017, June 1,
   28
                                                                                 13-CV-03401-JFW-SSx
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    1 2017, and June 2, 2017, and the supplemental responses served by the
    2 Defendants, plaintiff has redacted the Joint Stipulation to remove responses no
    3 longer considered at issue.
    4           This motion is based upon this notice and motion and any further facts
    5 or evidence offered at the time of the hearing on the motion and on all papers,
    6 files and records on file in this case. Plaintiff has complied with Fed R. Civ. P.
    7 37 and L.R. 37-2.
    8 DATED: JUNE 27 , 2017                                         Jeff Dominic Price
                                                            By            /s/ Jeff Dominic Price
    9                                                               Jeff Dominic Price, Esq.
   10                                                               Attorney for Plaintiff

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